Case 2:21-cv-04094-JFW-SK Document 18 Filed 11/05/21

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Craig B. Sanders SBN 121892 (516) 203-7600
Sanders Law Group

100 Garden City Plz Ste 500

Garden City, NY 11530

ATTORNEY FOR Plaintiff

ATTORNEY OR PARTY WITHOUT ATTORNEY (Name and Address) TELEPHONE NUMBER

FOR COURT USE ONLY

 

First Street Federal Courthouse Los Angeles -
350 W 1st Street
Los Angeles, CA90012

 

SHORT TITLE OF CASE:
Dorgan, Ryan v. Rap-Up, LLC

 

DATE: TIME: DEP./DIV.

CASE NUMBER:
2:21-CV-04094-JFW-SK

 

Declaration of Service

 

Ref. No. or File No:
Dorgan v. Rap-Up, LLC

 

 

United States District Court

| certify that | am authorized to serve the Summons and Complaint in the within action pursuant to F.R.Civ.P 4(c) and that | served the:

Summons in a Civil Action; Complaint Demand for Jury Trail; Exhibit 1-2; Order in Support of Plaintiff's Response to Order to Show

Cause/ Request to Serve the California Secretary of State
On: Rap- Up, LLC

| served the summons at:

1500 11th St, Sacramento, CA 95814

On: 11/1/2021 Date: 01:17 PM

In the above mentioned action by personally serving to and leaving with

Eric Anderson - Deputy Secretary of State

Description: Gender: Male Age: 45 Height: 5'10" Weight: 250 Race: White Hair: Brown

Adeclaration of diligence and/or mailing is attached if applicable

Person attempting service:

a. Name: Matt Leonardo - Registration: 2009-18 - County: Sacramento
b. Address: 31 N 2nd St 200, San Jose, CA 95113

c. Telephone number: 408-291-5000

d. The fee for this service was: 77.00

e. am an employee:

| declare under penalty of perjury under the laws of the United States of America that the fore

service and statement of fees is true and correct.

ing information contained in the return of

 

 

Matt Leonardo

Date: 11/04/2021

 

Declaration of Service

Invoice #: 5123162

 
